[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
Plaintiffs, the town manager and town council of the town of Bloomfield, appeal the decision of the defendant freedom of information commission ordering the plaintiffs to release certain documents to defendant Carol L Panke. The court determines that it lacks jurisdiction and accordingly dismisses the appeal.
Certain facts essential to the court's decision are undisputed and are fully reflected in the record and court files in the appeal. The commission mailed its final decision to the parties on August 19, 1994. The plaintiffs filed their appeal in the court on October 12, 1994.
General Statutes § 4-183(c) provides that an appeal of an administrative decision must be served on all parties of record and filed in the superior court "(w)ithin forty-five days after mailing of the final decision . . . or, if there is no mailing, within forty-five days after personal delivery of the final decision under (§ 4-180)." Failure to file an appeal within the forty-five day time period deprives the court of subject matter jurisdiction. Glastonbury Volunteer Ambulance Association,Inc. v. Freedom of Information Commission et al, 227 Conn. 848
(1993).
In the present case, as indicated, the appeal was filed in this court on the fifty-fourth day after the mailing of the CT Page 7653 agency's decision. That was beyond the time permitted by the statute and, therefore, the court lacks subject matter jurisdiction.
The appeal is dismissed.
MALONEY, J.